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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

                                           :
YOLANDA LANDERS,                           :
                                           :
                    Plaintiff,             :   Case No.: 4:17-cv-00525-MW-CAS
            v.                             :
                                           :
PROG LEASING, LLC d/b/a                    :
PROGRESSIVE LEASING,                       :
                                           ;
                  Defendant.               :

                      NOTICE OF PENDING SETTLEMENT

      Plaintiff, YOLANDA LANDERS, by and through her undersigned counsel,

hereby notifies the Court that the parties, Plaintiff, YOLANDA LANDERS, and

Defendant, PROG LEASING, LLC d/b/a PROGRESSIVE LEASING, have

reached a settlement with regard to this case, and are presently drafting, and

finalizing the settlement agreement, and general release documents.       Upon

execution of the same, the parties will file the appropriate dismissal documents

with the Court.

      Dated: August 15, 2018

                                           /s/ Amy M. Ferrera___________
                                           AMY M. FERRERA, ESQUIRE
                                           Florida Bar No. 15313
                                           MORGAN & MORGAN, TAMPA
                                           One Tampa City Center
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                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 15th day of August, 2018, the foregoing

was filed electronically in accordance with the Court’s guidelines, using the

Court’s CM/ECF system, and a copy of which was served via electronic mail to:

      Jenny N. Perkins, Esquire
      BALLARD SPAHR LLP
      1735 Market Street, 51st Floor
      Philadelphia, PA 19103
      Telephone: (215) 864-8378
      Facsimile: (215) 864-8999
      Attorneys for Respondent

                                           /s/ Amy M. Ferrera___________
                                           AMY M. FERRERA, ESQUIRE
                                           Florida Bar No. 15313
